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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                   §
                                                         §
VENTECH ENGINEERS, L.P. et al.,1                         §            Case No. 17-33203
                                                         §
                          DEBTORS.                       §            Joint Administration Requested
                                                         §
                                                         §            (Chapter 7)

    CHAPTER 7 TRUSTEE’S APPLICATION TO (1) EXPAND EMPLOYMENT OF
    DIAMOND McCARTHY LLP AS SPECIAL LITIGATION COUNSEL; AND (2)
     APPROVE A CONTINGENCY FEE AGREEMENT UNDER SECTION 328 OF
                       THE BANKRUPTCY CODE

         IF YOU OBJECT TO THE RELIEF REQUESTED, YOU MUST RESPOND IN
         WRITING, SPECIFICALLY ANSWERING EACH PARAGRAPH OF THIS
         PLEADING. UNLESS OTHERWISE DIRECTED BY THE COURT, YOU
         MUST FILE YOUR RESPONSE WITH THE CLERK OF THE BANKRUPTCY
         COURT WITHIN TWENTY-ONE (21) DAYS FROM THE DATE YOU WERE
         SERVED WITH THIS PLEADING. YOU MUST SERVE A COPY OF YOUR
         RESPONSE ON THE PERSON WHO SENT YOU THE NOTICE;
         OTHERWISE, THE COURT MAY TREAT THE PLEADING AS
         UNOPPOSED AND GRANT THE RELIEF REQUESTED.

TO THE HONORABLE DAVID R. JONES, UNITED STATES BANKRUPTCY JUDGE:

         Rodney D. Tow, chapter 7 trustee (the “Trustee”), in the above-referenced case

respectfully supplements and amends the relief requested in the Trustee’s Application to Employ

Diamond McCarthy LLP (“Diamond McCarthy”) as General Bankruptcy Counsel filed on June

22, 2017 (the “Initial Application”) [Docket No. 17], to expand the scope of Diamond

McCarthy’s employment to include the prosecution of the Contingency Litigation Claims

1
         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549) (the “Debtors”).
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(defined below) on a contingency fee basis (the “Application”). All terms not otherwise defined

shall have the same meaning as in the Initial Application. The Application is supported by the

declaration of J. Maxwell Beatty (“Beatty Declaration”) attached hereto as Exhibit A.

                                    RELIEF REQUESTED

       1.      The Trustee respectfully requests that the Court enter an order supplementing and

amending the scope of Diamond McCarthy’s employment in the Initial Application as follows:

            a. Authorizing the Trustee to further employ the firm of Diamond McCarthy as his

               special litigation counsel in connection with the Contingency Litigation Claims

               (defined in the Supplemental Agreement);

            b. Approving the contingency fee arrangement described herein and in the

               Supplemental Engagement Agreement (“Supplemental Agreement”), a true and

               correct copy of which is attached as Exhibit B, under Bankruptcy Code section

               328(a);

            c. Authorizing the Trustee to enter into the Supplemental Agreement;

            d. Such other and further relief as the Court may deem proper.

                                        JURISDICTION

       2.      This Court has jurisdiction over this application pursuant to 28 U.S.C. § 1334.

This is a core proceeding pursuant to 28 U.S.C. § 157(b).

       3.      Venue of the Debtors’ chapter 7 cases (“Chapter 7 Cases”) in this district is

proper pursuant to 28 U.S.C. §§ 1408 and 1409.

       4.      The statutory bases for the relief sought are §§ 327(a), 328, 330, and 704(a) of the

Bankruptcy Code, Bankruptcy Rules 2014, 2016, and 6003, and Bankruptcy Local Rule 2014-1.




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                                   SUMMARY OF APPLICATION

       5.       The Court previously approved the Trustee’s employment of Diamond McCarthy

as General Bankruptcy counsel pursuant to the Initial Application filed on June 22, 2017,

Engagement Agreement (the “Original Agreement”), including, without limitation, Diamond

McCarthy’s services as general bankruptcy counsel in connection with the bankruptcy cases filed

by the Ventech Entities.

       6.       The Trustee hereby seeks to expand the retention of Diamond McCarthy to handle

Contingency Litigation Claims on a contingency fee basis.

                                         BACKGROUND

       7.       On May 26, 2017 (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 7 of the Bankruptcy Code thereby commencing the Chapter 7 Cases.

       8.       Prior to the Petition Date, the Debtors operated engineering, procurement, and

construction companies that focused on modular systems design and fabrication for petroleum

refiners and related industries.

       9.       Rodney D. Tow was appointed as chapter 7 trustee for the Debtors’ estates on

May 30, 2017.

                                       BASIS FOR RELIEF

       10.      Section 327(a) of the Bankruptcy Code authorizes a trustee to employ attorneys

that do not hold or represent an interest adverse to the debtor’s estate and that are disinterested

persons to assist him with his duties under the Bankruptcy Code. The Trustee’s retention of

Diamond McCarthy is necessary to enable the Trustee to fulfill his duties under the Bankruptcy

Code and is in the best interests of the Debtors’ estates.




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        11.     Section 328 of the Bankruptcy Code authorizes the Trustee to employ a

professional person on reasonable terms and conditions of employment including a contingency

fee basis.

Diamond McCarthy’s Qualifications.

        12.     Diamond McCarthy possesses the requisite resources and is highly qualified to

serve as the Trustee’s special litigation counsel in prosecuting the Contingency Litigation

Claims. Diamond McCarthy’s professionals have spent a substantial amount of time, over 200

hours over the last ten months, working closely with the Trustee to administer the case and

familiarize themselves with the nature of the Debtor’s business, the Debtors’ assets and potential

claims the estate may have against third parties. No other firm is as uniquely suited to prosecute

the Contingency Litigation Claims for the Trustee and Debtors’ estates. No other firm has the

in-depth factual background related to this case or the detailed understanding of the particular

legal issues raised to date.

Expertise in Prosecuting the Types of Claims Presented in the Contingency Litigation

        13.     Diamond McCarthy’s professionals specialize in representing fiduciaries,

including bankruptcy trustees, in large and complex bankruptcy and litigation cases around the

country. Diamond McCarthy served as lead trial counsel for various parties having significant

roles in the Enron/LJM2, Parmalat, Livent, Bayou Funds, Dreier, LLP, USA Commercial

Mortgage, Diversified Lending Group, Inc., Equipment Acquisition Corp., Bank United, and the

Syntax-Brillian cases. Diamond McCarthy regularly investigates, and prosecutes cases involving

breaches of fiduciary duty, Chapter 5 claims, complex fraud, Ponzi schemes, professional

malpractice actions and other bankruptcy related claims.




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       14.     Diamond McCarthy represents Chapter 7 and 11 trustees as well as federal equity

receivers, handling all aspects of bankruptcy and insolvency proceedings, including prosecuting

various avoidance actions. For example, Diamond McCarthy served as special litigation counsel

to the Creditors’ Committee and Estate of Appalachian Fuels, Inc. and its affiliates in bankruptcy

proceedings in the Eastern District of Kentucky. As part of the representation, Diamond

McCarthy investigated and prosecuted claims against former directors and officers,

insurance/surety companies, and various third parties on claims for breach of fiduciary duty,

negligent misrepresentation, fraud, and avoidance actions under both the bankruptcy code and

corresponding state law. Diamond McCarthy also recently represented the Plan Administrator

for Equipment Acquisition Resources, Inc. in the Bankruptcy Court for Northern District of

Illinois. During the representation, the firm investigated and prosecuted tens of millions of

dollars in fraudulent transfers related to fraudulent equipment leases on high-tech manufacturing

equipment.

       15.     The Trustee believes that Diamond McCarthy is well-qualified and uniquely able

to serve as his litigation counsel in the Contingency Litigation. Diamond McCarthy’s extensive

litigation background with the specific types of claims likely to be at issue in this case will be

invaluable in assessing the options for maximizing the return to creditors in this case.

Unique Experience with the Specific Contingency Litigation Claims

       16.     The Trustee’s experience of working directly with Diamond McCarthy’s

professionals convinced him that the firm’s litigation team possesses an impressive level of

knowledge, skill, professionalism and talent.

       17.     Given Diamond McCarthy’s significant investment of time, resources and

expertise, the firm is uniquely positioned to successfully and efficiently represent the Trustee and

the Debtors’ estates. No other firm possesses Diamond McCarthy’s familiarity with the facts,
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law and transactions at issue in the Contingency Litigation Claims and a replacement firm would

require the Trustee and his staff to spend hundreds of additional hours to educate new counsel on

the facts and analysis required to prosecute the claims.

         18.     The Trustee respectfully submits that expanding Diamond McCarthy’s role as his

special litigation counsel would best serve the interests of the Debtors’ estates as well as their

creditors. Accordingly, the Trustee requested Diamond McCarthy to expand the scope of its

employment to include prosecution of the Contingency Litigation on a contingency fee basis.

The Trustee negotiated with Diamond McCarthy to reach a contingency fee arrangement

favorable to the Debtors’ estates as set forth in the Supplemental Agreement and summarized

below.

                                 PROPOSED CONTINGENCY FEE

         19.     The Trustee proposes to expand the scope of Diamond McCarthy’s service as

special litigation counsel to undertake the Contingency Litigation on a contingency fee basis,

subject to the terms and conditions specified in the Supplemental Agreement2 and approval by

the Court under Bankruptcy Code section 328(a).

         20.     Diamond McCarthy will be compensated for its services only when the Trustee

obtains a Recovery (as defined in the Supplemental Agreement), either through settlement,

judgment, reduction or elimination of claims against the Debtors’ estates, or otherwise.

         21.     For representing the Trustee in prosecuting to the Contingency Litigation Claims,

Diamond McCarthy shall earn a contingency fee based on a percentage of the Debtors’ estates’

Recoveries. The contingency fee is payable by the Debtors’ estates as set forth below, which


2
  The summary of the Supplemental Agreement’s terms provided in this Application are for informational purposes
only. The Supplemental Agreement itself will govern the terms of the Trustee’s employment of and compensation
of Diamond McCarthy in the Contingency Litigation. In the event of any conflict between the information provided
in this Application and the terms Supplemental Agreement, the Supplemental Agreement controls.
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contingency fee shall be approved in advance with the Supplemental Agreement and this

Application under 11 U.S.C. § 328(a).          As detailed in Section 5(b) of the Supplemental

Agreement, in the event the Trustee and the Debtors’ estates receive a Recovery pursuant to a

settlement, judgment, arbitral award or otherwise in connection with the Contingency Litigation

Diamond McCarthy will be entitled to a 40% contingency fee.

        22.        As explained above and detailed in the Supplemental Agreement, Diamond

McCarthy will advance out of pocket expenses for the Contingency Litigation. Pursuant to

Section 6 of the Supplemental Agreement, these out of pocket expenses with be reimbursed from

Gross Recoveries.

        23.        The contingency fee terms outlined above and specified in the Supplemental

Agreement are the result of arm’s length negotiations between the Trustee and Diamond

McCarthy.     The Trustee presents that the proposed contingency fee terms set forth in the

Supplemental Agreement are fair, reasonable and in the best interest of the Debtors’ estates and

their creditors.

                                        BASIS FOR RELIEF

A.      The Agreement Meets the Requirements of Section 328

        24.        Bankruptcy Code section 328 permits the employment of a professional to assist

the Trustee “on any reasonable terms and conditions of employment, including on a retainer, on

an hourly basis, on a fixed or percentage fee basis, or on a contingent fee basis.” 11 U.S.C.

§328(a). Diamond McCarthy and the Trustee are specifically requesting that the contingency fee

set forth in the Supplemental Agreement be awarded under Bankruptcy Code section 328. Circle

K Corp. v. Houlihan, Lokey Howard & Zuken, Inc. (In re Circle K Corp.), 279 F.3d 669, 671

(9th Cir. 2001) (holding that unless the retention application of a professional unambiguously


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specifies that approval is sought under Bankruptcy Code section 328, any fee award is subject to

review under Bankruptcy Code section 330).

       25.     The Court must determine the reasonableness of the Supplemental Agreement at

this time because once a bankruptcy court approves a fee agreement under section 328, “when

the professional ultimately applies for payment, the court cannot alter those terms unless it finds

the original terms ‘to have been improvident in light of developments not capable of being

anticipated at the time of the fixing of such terms and conditions.’” In re Reimers, 927 F.2d

1127, 1128 (9th Cir. 1992) (quoting In re Confections by Sandra, Inc., 83 B.R. 729 (B.A.P. 9th

Cir. 1987). Here, the Supplemental Agreement is reasonable for several reasons.

       26.     First, a contingency fee is appropriate because the likely source of potential

recovery on general unsecured claims will be from the Contingency Litigation Claims. Any

recovery on the Contingency Litigation Claims requires significant legal services and there is a

serious risk of nonpayment for Diamond McCarthy. The ability of the Debtors’ estates to pay

administrative expenses depends, as a practical matter, upon the successful prosecution of the

Contingency Litigation Claims. The Trustee projects that it will take many months and several

hundred more hours of attorney services to prosecute the Contingency Litigation Claims to

resolution.

       27.     Second, the Trustee is unable to retain counsel to prosecute the Contingency

Litigation Claims without the contingent fee arrangement provided in the Supplemental

Agreement based upon the risk of nonpayment. The Debtors’ estates do not have funds to

prosecute the Contingency Litigation Claims to resolution on an hourly basis and the

contingency fee arrangement will permit prosecution of the Contingency Litigation Claims and

compensate Diamond McCarthy for the risk of nonpayment.


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                                         CONCLUSION

       The Trustee believes it is essential that the scope of Diamond McCarthy’s employment

be amended to include the additional services described above and that the Court approve the

Supplemental Agreement pursuant to Bankruptcy Code section 328(a).

       WHEREFORE, based upon the foregoing, the Trustee requests that the Court enter an

order granting the relief requested herein.

Dated: May 10, 2018                              Respectfully submitted,


                                                 DIAMOND McCARTHY LLP

                                                 /s/ Charles M. Rubio
                                                 J. Maxwell Beatty
                                                 TBA No. 24051740
                                                 mbeatty@diamondmccarthy.com
                                                 Kyung S. Lee
                                                 TBA No. 12128400
                                                 klee@diamondmccarthy.com
                                                 Charles M. Rubio
                                                 TBA No. 24083768
                                                 crubio@diamondmccarthy.com
                                                 Two Houston Center
                                                 909 Fannin, 37th Floor
                                                 Houston, TX 77010
                                                 Telephone: (713) 333-5100
                                                 Facsimile: (713) 333-5199

                                                 Proposed Special Litigation Counsel to
                                                 Rodney D. Tow, Chapter 7 Trustee for the
                                                 Ventech Entities




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                              CERTIFICATE OF SERVICE

      I hereby certify that, pursuant to Local Rule 9003-1, this document was served on the
U.S. Trustee and upon those parties registered to receive ECF notifications in this case on
May 10, 2018.

                                                       /s/ J. Maxwell Beatty
                                                       J. Maxwell Beatty




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                             Exhibit A

                         Beatty Declaration
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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION

In re:                                                   §
                                                         §
VENTECH ENGINEERS, L.P. et al.,1                         §            Case No. 17-33203
                                                         §
                          DEBTORS.                       §            Joint Administration Requested
                                                         §
                                                         §            (Chapter 7)

         DECLARATION OF J. MAXWELL BEATTY IN SUPPORT OF TRUSTEE’S
              APPLICATION TO EMPLOY DIAMOND McCARTHY LLP
                 AS TRUSTEE’S SPECIAL LITIGATION COUNSEL

         I, Jon Maxwell Beatty, declare under penalty of perjury as follows:

         1.      I am an attorney at law duly admitted and in good standing to practice in Texas,

and before the Second and Ninth Circuit Court of Appeals and the United States District Courts

for the Southern and Western Districts of Texas and the Northern District of Illinois. I am a

partner in the Houston office of the law firm Diamond McCarthy LLP, located at 909 Fannin,

37th Floor, Houston, Texas 77010.

         2.      I make this declaration in support of the Trustee’s Motion to (1) Expand

Employment of Diamond McCarthy LLP as Special Litigation Counsel (the “Application”). If

called as a witness, I would and could testify competently to the matters stated herein.

         3.      Unless otherwise indicated, capitalized terms have the meanings ascribed to them

in the Application.


1
         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549) (the “Debtors”).
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       4.      On May 26, 2017 (“Petition Date”), the Debtors filed voluntary petitions for relief

under chapter 7 of the Bankruptcy Code.

       5.      On August 9, 2017, the Court entered its order [Dkt. 25] authorizing the Trustee’s

employment of Diamond McCarthy LLP, 909 Fannin, 37th Floor, Houston, TX 77010

(“Diamond McCarthy”) as general Bankruptcy counsel and approving the June 22, 2017,

Engagement Agreement (the “Original Agreement”).

       6.      The Trustee now seeks to expand the scope of Diamond McCarthy’s role as

Special Litigation counsel to include the prosecution of potential litigation claims held by the

Estate and Trustee against transferees of preferences and fraudulent transfers, insiders and

affiliates of the Debtor and third parties, including, without limitation, specific partners or co-

investors with the principal of the Debtor (Ventech Engineers, L.P.), (collectively herein as the

“Contingency Litigation Claims” pursued as the “Contingency Litigation”).

       7.      This declaration is submitted pursuant to Bankruptcy Rule 2014(a) in support of

the Trustee’s Motion to (1) Expand Employment of Diamond McCarthy LLP as Special

Litigation Counsel; and (2) Approve a Contingency Fee Agreement under Section 328 of the

Bankruptcy Code (the “Application”). I have read the Application and hereby incorporate its

factual statements.

       8.      Details regarding the qualifications of Diamond McCarthy may be found at

Diamond McCarthy’s website at www.diamondmccarthy.com and as detailed in the Application.

       9.      The expanded special litigation counsel services that Diamond McCarthy will

provide to the Trustee include the prosecution of the Contingency Litigation Claims and the

Contingency Litigation.    Diamond McCarthy will continue its service to the Trustee and

Debtors’ estates as bankruptcy counsel on the terms previously approved by the Court.



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Diamond McCarthy is Disinterested

       10.        Diamond McCarthy performed the following actions to determine whether the it

or any of its attorneys has any conflict of interest or connection that would preclude Diamond

McCarthy from serving as the Trustee’s bankruptcy counsel in these Chapter 7 Cases:

             a.      First, Diamond McCarthy did an initial conflict check with the Trustee
                     as the prospective client, Ventech Engineers L.P.; Ventech Engineers
                     LLC; Ventech Fabrication Services LLC; Ventech Engineers
                     International LLC; Ventech Energy LLC; Ventech Engineers North
                     America LLC; Ventech Engineers USA LLC; Ventech Vessel
                     Fabricators LLC; Ventech Global Projects, Inc.; Ventech International
                     Projects LLC; Ventech Global Construction, LLC; Ventech Modular
                     Fabricators LLC; Ventech Refining Solutions LLC; Ventech Plant
                     Constructors LLC; Ventech Engineers & Fabricators, LLC; Ventech
                     Industrial Contractors, LLC; Ventech XTL LLC; and Ventech XTL
                     Oklahoma City LLC as the Debtors, and Bank of America as secured
                     creditor. The initial conflict check did not reveal any conflicts.

             b.      Second, either I or my staff sent emails to all email account holders
                     within Diamond McCarthy requesting a conflict check be performed
                     on the above adverse parties. Such email also requested whether any
                     user knew of any connection to the adverse parties. Neither I nor my
                     staff received any responses indicating that a conflict or connection
                     exists.

             c.      Third, Diamond McCarthy performed a conflict check with each of the
                     parties-in-interest set forth on Exhibit 2. This search showed that
                     Diamond McCarthy represented Logix Communications in an
                     unrelated matter that has concluded.

       11.        The results of the foregoing conflict check process confirm that neither I, nor

Diamond McCarthy, nor any of its members or associates, to the best of my knowledge, have

any disqualifying connections with the Trustee, the Debtors, creditors, any other party-in-

interest, their respective attorneys and accountants, the U.S. Trustee, or any person employed in

the office of the U.S. Trustee. Diamond McCarthy is not a creditor of the Debtors.

       12.        Diamond McCarthy has the following past and present connections to the Trustee.

Unless otherwise noted, the cases assigned to Diamond McCarthy by the Trustee have


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concluded. Diamond McCarthy has represented the Trustee in the following matters unrelated to

this case:

             a.   Diamond McCarthy serves as special counsel to Rodney Tow as the
                  Chapter 7 trustee for the estate of Axon Rig Concept & Design, LLC,
                  in In re Axon Rig Concept & Design, LLC in the United States
                  Bankruptcy Court, Southern District of Texas, Houston Division,
                  under Case No. 17-32332. This is an on-going representation of the
                  Trustee.

             b.   Diamond McCarthy serves as general bankruptcy counsel to Rodney
                  Tow as the Chapter 7 trustee for the estate of Thomas E. Fereday, Jr.,
                  in In re Thomas E. Fereday, Jr., in the United States Bankruptcy Court,
                  Southern District of Texas, Houston Division, under Case No. 17-
                  80214. This is an on-going representation of the Trustee.

             c.   Diamond McCarthy serves as general counsel to Rodney Tow as the
                  Chapter 7 trustee for the estate of RDI Center in In re RDI Center, Inc.
                  in the United States Bankruptcy Court, Southern District of Texas,
                  Houston Division, under Case No. 17-32102. This is an on-going
                  representation of the Trustee.

             d.   Diamond McCarthy serves as special counsel to Rodney Tow as the
                  Chapter 7 Trustee for the estate of Peterson Group, Inc. in In re
                  Peterson Group, Inc. in the United States Bankruptcy Court, Southern
                  District of Texas, Houston Division, under Case No. 12-31550. This
                  is an on-going representation of the Trustee.

             e.   Diamond McCarthy serves as special counsel to Rodney Tow as the
                  Chapter 7 Trustee for the estate of Quincy Kwasi Aboagye Sintim and
                  Shirley Mills Sintim in In re Quincy Kwasi Aboagye Sintim and
                  Shirley Mills Sintim in the United States Bankruptcy Court, Southern
                  District of Texas, Houston Division, under Case No. 17-30896. This
                  is an on-going representation of the Trustee.

             f.   Diamond McCarthy serves as general counsel to Rodney Tow as the
                  Chapter 7 trustee for the estate of Ventech Engineers, L.P., et al. in In
                  re Ventech Engineers, L.P., et al. in the United States Bankruptcy
                  Court, Southern District of Texas, Houston Division, under Case No.
                  17-33203. This is an on-going representation of the Trustee.

             g.   Diamond McCarthy serves as general counsel to Rodney Tow as the
                  Chapter 7 trustee for the estate of ATP Oil & Gas Corporation in In re
                  ATP Oil & Gas Corporation in the United States Bankruptcy Court,
                  Southern District of Texas, Houston Division, under Case No. 12-


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              36187. This is an on-going representation of the Trustee.

         h.   Diamond McCarthy serves as general counsel to Rodney Tow as the
              Chapter 7 trustee for the estates of Garrison Municipal Partners, LP in
              In re Garrison Municipal Partners, LP in the United States Bankruptcy
              Court, Southern District of Texas, Houston Division, jointly
              administered under Case No. 14-32867. This is an on-going
              representation of the Trustee.

         i.   Diamond McCarthy serves as general counsel to Rodney Tow as the
              Chapter 7 trustee for the estate of David Gordon Wallace, Jr. in In re
              David Gordon Wallace, Jr. in the United States Bankruptcy Court,
              Southern District of Texas, Houston Division, jointly administered
              under Case No. 14-31594. This is an on-going representation of the
              Trustee.

         j.   Diamond McCarthy served as general counsel to Rodney Tow as the
              Chapter 7 trustee for the estate of Ahn Huynh Regent in the United
              States Bankruptcy Court, Southern District of Texas, Houston
              Division, under Case No. 15-31530.

         k.   Diamond McCarthy served as the general counsel to Rodney Tow as
              the Interim Chapter 7 Trustee for the estate of Groves Hospital and
              Kiglapait Hospital Corp, in the United States Bankruptcy Court,
              Southern District of Texas, Houston, Division, administered under
              Case No. 15-30447.

         l.   Diamond McCarthy served as special counsel and proposed general
              counsel to Rodney Tow as the Chapter 7 trustee for the estates of
              Cyrus II L.P., Bahar Development, Inc. and Mondona Rafizadeh in In
              re Cyrus II L.P., et al. in the United States Bankruptcy Court, Southern
              District of Texas, Houston Division, jointly administered under Case
              No. 05-39857-H1-7.

         m.   Diamond McCarthy served as special litigation counsel to Rodney
              Tow as the Chapter 7 trustee for the estate of South Texas Wholesale
              Records and Tapes, Inc. in prosecuting adversary proceeding number
              05-3171 against the CIT Group/Business Credit, Inc. asserting claims
              for breach of contract and usury in the United States Bankruptcy
              Court, Southern District of Texas, Houston Division, under Case No.
              03-48096-H5-7.

         n.   Diamond McCarthy served as special litigation counsel to Rodney
              Tow as the Chapter 7 trustee for the estate in the In re John Tullis
              Jones, III case, Case No. 04-33533-H2-7 in this Court, to prosecute
              adversary proceeding number 06-3255 seeking to recover property of


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              the estate and fraudulent transfers against various family trusts related
              to the debtor.

         o.   Diamond McCarthy served as special litigation counsel to Rodney
              Tow as the Chapter 7 trustee for the estate in In re Shanks Tritter &
              Associates, P.C., Case No. 00-31161-H4-7 in this Court, to recover
              property of the estate.

         p.   Diamond McCarthy served as special counsel to Rodney Tow, as the
              Chapter 7 trustee in the In re Links at West Fork case, Case No. 06-
              33688-H1-11 in this Court.

         q.   Diamond McCarthy served as general counsel to Rodney Tow, as the
              Chapter 7 trustee in the Erwina and Bernardino Consunji case, Case
              No. 05-93516-H3-7 in this Court to advise and assist the Trustee in
              administering the assets of the Estate, including but not limited to,
              prosecution of the estate’s litigation claims against Scott K. Pagano,
              D.C. and Campbell Chiropractic Clinic, P.C., d/b/a Campbell
              Chiropractic Wellness Center, Cause No. 2006-23838, pending in the
              333rd Judicial District Court of Harris County, Texas.

         r.   Diamond McCarthy served as general counsel to Rodney Tow, as the
              Chapter 7 trustee for the estate in In re 3120 Precinct Line Road, LLC
              case, Case No. 05-95001-H4-7 in this Court, to assist the Trustee in
              overseeing the administration of the estate’s assets, including but not
              limited to, the prosecution of the estate’s litigation claims against
              various third parties.

         s.   Diamond McCarthy served as special counsel to Rodney Tow, as the
              Chapter 7 Trustee for the estate in the In re Shama Sheikh case, Case
              No. 06-34079 in this Court, to assist the Trustee in overseeing the
              administration of the estate’s assets, including but not limited to, the
              prosecution of the estate’s litigation claims against various third
              parties and recovery of estate property.

         t.   Diamond McCarthy served as special counsel to Rodney Tow, as the
              Chapter 7 Trustee for the estate in the In re G.C. Medical Holdings,
              Inc. case, Case No. 06-35890 in this Court, to advise and assist the
              Trustee in investigating and prosecuting potential litigation claims
              against third parties and to recover property of the estate.

         u.   Diamond McCarthy served as special counsel to Rodney Tow, as the
              Chapter 7 Trustee for the estate in the Royce Homes, LP case, Case
              No. 09-32467-H4-7, in this Court, to advise and assist the Trustee in
              investigating and prosecuting potential litigation claims against third
              parties and to recover property of the estate. This assignment has not


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                     concluded.

             v.      Diamond McCarthy served as special counsel to Rodney Tow, as the
                     Chapter 7 Trustee for the estate of David Henley and Belinda Henly,
                     Case No. 11-33438, in this Court to advise and assist the Trustee in
                     investigating and prosecuting claims against the transferees of
                     fraudulent transfers from the debtors.

             w.      Diamond McCarthy served as special counsel to Rodney Tow, as the
                     Chapter 7 Trustee for the estate of Charles R. Saden, Case No. 11-
                     35051, in this Court to advise and assist the Trustee in disputes over
                     the ownership and title to the major remaining assets of the estate,
                     pending appeal of a suit between the debtor and the major creditor.

             x.      Diamond McCarthy served as special litigation counsel to Rodney
                     Tow, as the Chapter 7 Trustee for the estate of Hallmark Design
                     Homes, LP, Case No. 09-38714, in this Court, to resolve control over
                     property of the estate, including real estate and equity interests in
                     operating businesses.

             y.      Diamond McCarthy served as special counsel to Rodney Tow, as the
                     Chapter 7 Trustee for the estates of Northernstar Natural Gas, Inc. and
                     Clearwater Port Holdings, LLC, Case No. 10-33856 and Case No. 10-
                     33865, jointly administered under Case No. 10-33856 in this Court to
                     advise and assist the Trustee in all matters affecting the estates in
                     connection with an appeal to the FERC order pending before the 9th
                     Circuit Court of Appeals and all matters affecting the estates in
                     connection with the appeal to the LUBA order pending before the
                     State of Oregon Court of Appeals.

       13.        Diamond McCarthy practices law in the insolvency-related arena, and our

practice includes insolvency-related litigation.        Consequently, Diamond McCarthy has

“connections” with many of the attorneys and other professionals involved in the Debtors’

Chapter 7 Cases. Diamond McCarthy may have referred matters to other professionals involved

in the Debtors’ cases, and it may have been referred matters by such parties. Diamond McCarthy

may represent or have, from time to time, represented or been adverse to one or more of the

professionals involved in the Debtors’ Chapter 7 Cases.




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       14.     Diamond McCarthy personnel may also use some vendors that the Debtor used

including American Express, Blue Cross Blue Shield of Texas, and Travelers Insurance.

       15.     Neither I, nor Diamond McCarthy, nor any of its partners or associates, insofar as

I have been able to ascertain, represents any interest adverse to the Debtors. To the best of my

knowledge, Diamond McCarthy is a “disinterested person” as that term is defined in § 101(14) of

the Bankruptcy Code, in that Diamond McCarthy, its partners, counsel, and associates:

                      a. are not creditors, equity security holders or insiders of the
                         Debtors;

                      b. are not and were not, within 2 years before the date of the filing
                         of the petition, a director, officer or employee of the Debtors;
                         and

                      c. do not have an interest materially adverse to the interest of the
                         estate or of any class of creditors or equity security holders, by
                         reason of any direct or indirect relationship to, connection with,
                         or interest in, the Debtors, or for any other reason.

       16.     Despite Diamond McCarthy’s best efforts to identify and disclose its connections

with the adverse parties in the Debtors’ Chapter 7 Cases, Diamond McCarthy is unable to state

with absolute certainty that every client representation or other connection has been disclosed.

In this regard, if Diamond McCarthy discovers additional information that requires disclosure,

Diamond McCarthy will file a supplemental disclosure with the Court.

Proposed Contingency Fee Terms

       17.     The Trustee proposes to expand the scope of Diamond McCarthy’s service as

special litigation counsel to undertake the Contingency Litigation on a contingency fee basis and

Diamond McCarthy has agreed to undertake this expanded representation pursuant to the terms

of the Supplemental and Amended Engagement Agreement2 (“Supplemental Agreement”), a


2
  The summaries of the Supplemental Agreement’s terms provided in this Declaration and the
Contingency Retention Motion are for informational purposes only. The Supplemental Agreement itself

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true and correct copy of which is attached as Exhibit 2 to the Application.          The Supplemental

Agreement is subject to approval by the Court under Bankruptcy Code section 328(a).

        18.     Diamond McCarthy will be compensated for its services only when the Trustee

obtains a Recovery (as defined in the Supplemental Agreement), either through settlement,

judgment, reduction or elimination of claims against the Estate, or otherwise. The compensation

provisions approved in the Original Agreement will continue to govern Diamond McCarthy’s

compensation for the work performed as General Bankruptcy Counsel to the Trustee.

        19.     For representing the Trustee in prosecuting to the Contingency Litigation Claims,

Diamond McCarthy shall earn a contingency fee based on a percentage of the Estate’s

Recoveries. The contingency fee is payable by the Estate as set forth below, which contingency

fee shall be approved in advance with the Supplemental Agreement and the Application under 11

U.S.C. § 328(a):

                   As detailed in Section 5(b) of the Supplemental Agreement, in the event that

                    the Trustee and the Estate receives a Recovery pursuant to a settlement,

                    judgment, arbitral award or otherwise in connection with the Contingency

                    Litigation.

                   Diamond McCarthy shall be entitled to a contingency fee of 40% of such

                    recoveries plus reimbursement of expenses.

        20.     As explained above and detailed in the Supplemental Agreement, Diamond

McCarthy will advance out of pocket expenses for the Contingency Litigation.                   Diamond

McCarthy will also bill the estate for all reasonable and necessary out-of-pocket expenses


will govern the terms of the Trustee’s employment of and compensation of Diamond McCarthy in the
Contingency Litigation. In the event of any conflict between the information provided in this Declaration
or the Contingency Retention Motion and the terms Supplemental Agreement, the Supplemental
Agreement controls.

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incurred pursuant to Supplemental Agreement. Diamond McCarthy will maintain detailed

records of costs and expenses incurred in connection with its legal services and these will be set

forth in detail as part of reimbursement applications filed pursuant to 11 U.S.C. § 328. Pursuant

to Section 6 of the Supplemental Agreement, these out of pocket expenses will be reimbursed

from Gross Recoveries.

        21.        The contingency fee terms outlined above and specified in the Supplemental

Agreement are the result of arm’s length negotiations between the Trustee and Diamond

McCarthy.      The Trustee presents that the proposed contingency fee terms set forth in the

Supplemental Agreement are fair, reasonable and in the best interest of the Debtors’ estates and

their creditors.

        22.        Notwithstanding anything to the contrary contained in the Application and its

supporting papers, including the Agreement, but subject to the provisions of 11 U.S.C. §328(a),

Diamond McCarthy agrees that the relevant provisions of the Bankruptcy Code, Bankruptcy

Rules, Local Rules, and the United States Trustee Fee Guidelines (“UST Guidelines”) will apply

and prevail.

        23.        In seeking compensation and out-of-pocket expense reimbursement, Diamond

McCarthy will comply with the relevant provisions of the Bankruptcy Code, Bankruptcy Rules,

Local Rules, and the UST Guidelines.

        24.        Notwithstanding anything in the Supplemental Agreement to the contrary, interest

on compensation or expense reimbursement will not be charged except upon further motion to

and order from the Court.           Diamond McCarthy understands and acknowledges that all

compensation under the Supplemental Agreement is subject to Section 328(a) of the Bankruptcy

Code.



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       25.     Diamond McCarthy’s representation of the Trustee pursuant to the Application is

anticipated to continue past confirmation of a plan of reorganization/liquidation through the

closing of the Bankruptcy Case, with withdrawal from such representation at any other time to be

allowable only pursuant to an order of this Court.

       26.     I acknowledge and affirm that by accepting this representation, Diamond

McCarthy acknowledges that it has, and agrees that it has a fiduciary duty to the Trustee as the

Trustee in the Bankruptcy Case and shall act in accordance with its fiduciary duties.

       27.     If, after appropriate notice from Diamond McCarthy to the Trustee, the Trustee

does not request the return of Trustee’s papers and property, if any, from Diamond McCarthy,

Diamond McCarthy may destroy such records and property after 3 years from the date the

Bankruptcy Case closes, unless Diamond McCarthy is otherwise subject to longer record

retention requirements under state or federal law.

       28.     Diamond McCarthy recognizes the duty to disclose connections pursuant to

Bankruptcy Rule 2014 is a continuing obligation and will amend and supplement this statement

should additional connections arise in the course of this representation.

       I declare under penalty of perjury under the laws of the State of Texas that the foregoing

is true and correct and this declaration is executed at Houston, Texas, May 10, 2018.


                                            By: /s/ J. Maxwell Beatty
                                                  J. Maxwell Beatty




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                            Exhibit B

                         Engagement Letter
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                             UNITED STATES BANKRUPTCY COURT
                               SOUTHERN DISTRICT OF TEXAS
                                     HOUSTON DIVISION


In re:                                                   §
                                                         §
VENTECH ENGINEERS, L.P. et al.,1                         §             Case No. 17-33206
                                                         §
                           DEBTORS.                      §             Joint Administration Requested
                                                         §
                                                         §             (Chapter 7)

    ORDER APPROVING TRUSTEE’S APPLICATION TO EMPLOY DIAMOND
    McCARTHY LLP AS SPECIAL LITIGATION COUNSEL FOR THE TRUSTEE

         Upon the application (the “Application”)2 filed by Rodney D. Tow, chapter 7 trustee for

the Debtors (the “Trustee”) for retention and appointment of Diamond McCarthy LLP

(“Diamond McCarthy”) as special litigation counsel, pursuant to §§ 327(a), 328 and 330 of the

Bankruptcy Code, as more fully set forth in the Application and all exhibits and attachments to

the Application; and upon consideration of the Court’s finding that (i) the Court has jurisdiction

over this matter pursuant to 28 U.S.C. § 1334; (ii) this is a core proceeding pursuant to 28 U.S.C.

§ 157(b); (iii) venue is proper in this Court pursuant to 28 U.S.C. §§ 1408 and 1409; (iv) the

Application and the Beatty Declaration are in full compliance with all applicable provisions of

the Bankruptcy Code, Bankruptcy Rules, Local Rules, and Orders and procedures of this Court;

(v) Diamond McCarthy does not represent an interest adverse to the Debtors’ estates with respect


1
         The names of the debtors in these chapter 7 cases, along with the last four digits of each Debtor’s federal
         tax identification number, are: Ventech Engineers L.P. (0943); Ventech Engineers LLC (7644); Ventech
         Fabrication Services LLC (6482); Ventech Engineers International LLC (5030); Ventech Energy LLC
         (1829); Ventech Engineers North America LLC (7325); Ventech Engineers USA LLC (7499); Ventech
         Vessel Fabricators LLC (6525); Ventech Global Projects, Inc. (9146); Ventech International Projects LLC
         (2187); Ventech Global Construction, LLC (0736); Ventech Modular Fabricators LLC (2960); Ventech
         Refining Solutions LLC (6454); Ventech Plant Constructors LLC (5107); Ventech Engineers &
         Fabricators, LLC (2106); Ventech Industrial Contractors, LLC (6482); Ventech XTL LLC (2500); and
         Ventech XTL Oklahoma City LLC (5549) (the “Debtors”).
2
         Capitalized terms not defined herein have the meaning set forth in the Application.


ORDER APPROVING APPLICATION TO EMPLOY
DIAMOND McCARTHY LLP                                                                                  Page 1 of 3
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to the matters upon which they are to be engaged and are “disinterested persons” within the

meaning of that term under § 101(14) of the Bankruptcy Code; (vi) Diamond McCarthy is

qualified to represent the Debtors’ estates under § 327 of the Bankruptcy Code; (vii) the terms of

Diamond McCarthy’s employment have been disclosed and are reasonable under the

circumstances; (viii) retention of Diamond McCarthy under section 328 of the Bankruptcy Code

is appropriate under the circumstances; (ix) proper and adequate notice of the Application, the

deadline to file any objections to the Application, and the hearing thereon was given, and no

other or further notice is necessary; (x) the legal and factual bases set forth in the Application

establish just cause for the relief granted herein; (xi) the relief sought in the Application is in the

best interests of the Debtors and their estates; (xii) any timely objection to the Application

having been withdrawn or overruled for the reasons stated on the record at the hearing; and after

due deliberation and sufficient cause appearing therefor, it is hereby ORDERED THAT:

       1.        In accordance with §§ 327(a), 328 and 330 of the Bankruptcy Code, the Trustee is

authorized to employ and retain Diamond McCarthy, as his special litigation counsel, under the

terms and conditions set forth in the Application and the Engagement Agreement attached hereto

as Exhibit A.

       2.        Diamond McCarthy is authorized to perform any and all legal services for the

Trustee that are necessary or appropriate in connection with these Chapter 7 Cases.

       3.        Diamond McCarthy shall be compensated for its services and reimbursed for

related expenses in accordance with the terms and conditions of the Engagement Agreement, as

set forth in the Application pursuant to § 328 of the Bankruptcy Code, and in accordance with

applicable Federal Rules of Bankruptcy Procedure, Local Rules, and any other applicable Orders

of this Court.



ORDER APPROVING APPLICATION TO EMPLOY
DIAMOND McCARTHY LLP                                                                       Page 2 of 3
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       4.      All compensation for services rendered and reimbursement for expenses incurred

during these Chapter 7 Cases shall be paid after further application to and order of this Court, in

accordance with section 328 of the Bankruptcy Code and any other applicable provisions of the

Bankruptcy Code, the Bankruptcy Rules, the Local Rules, the Guidelines, and Orders of this

Court in these Chapter 7 Cases.

       5.      This order shall be immediately effective and enforceable upon entry.

       6.      This order, and all acts taken in furtherance or reliance thereon, shall be effective

notwithstanding any objection until further order of this Court.

       7.      The Trustee and Diamond McCarthy are authorized to take all actions necessary

to effectuate the relief granted pursuant to this order in accordance with the Application.

       8.      This Court shall retain jurisdiction with respect to all matters arising from or

related to the implementation of this order.


Dated: ______________, 2018
                                               __________________________________________
                                               UNITED STATES BANKRUPTCY JUDGE




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DIAMOND McCARTHY LLP                                                                    Page 3 of 3
